        Case 1:18-cv-00649-LJV-JJM Document 1 Filed 06/07/18 Page 1 of 9




                         UNITED STATES DISTRICT COURT FOR
                        THE WESTERN DISTRICT OF NEW YORK



  LACKAWANNA CHIROPRACTIC P.C., a                     Case No.
  New York professional corporation,
  individually and on behalf of all others
  similarly situated,
                                                      CLASS ACTION COMPLAINT
                      Plaintiff,

                          v.
                                                      DEMAND FOR JURY TRIAL
  TIVITY HEALTH SUPPORT, LLC, a
  Delaware limited liability company,

                     Defendant.



            CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL

       Plaintiff Lackawanna Chiropractic P.C. (“Lackawanna” or “Plaintiff”) brings this Class

Action Complaint against Defendant Tivity Health Support, LLC., (“Tivity” or “Defendant”), to

stop its practice of sending unauthorized and unwanted fax advertisements, and to obtain redress

for all persons and entities similarly injured by its conduct. Plaintiff alleges as follows upon

personal knowledge as to itself and its own acts and experiences, and, as to all other matters,

upon information and belief, including investigation conducted by its attorneys.

                                   NATURE OF THE ACTION

       1.      Defendant Tivity is a fitness and wellness program provider.

       2.      This case challenges Tivity’s practice of sending unsolicited faxes to businesses

and other consumers advertising its Health and Fitness Program Network, a referral and discount

network.

       3.      These faxes are part of a general marketing campaign to promote the commercial

                                                  1
        Case 1:18-cv-00649-LJV-JJM Document 1 Filed 06/07/18 Page 2 of 9




availability of Tivity’s referral and discount network to businesses that may choose to provide

services through Tivity’s network and compensate Tivity for doing so, and to self insured

consumers (including owners and employees of the business receiving the faxes) that may

become network members and also compensate Tivity for doing so.

       4.      Defendant Tivity sent the faxes at issue to Plaintiff and the Class despite having

no established business relationship with them and never obtaining their consent to send them

faxes in violation of the Telephone Consumer Protection Act, 47 U.S.C. § 227 (“TCPA”),

causing Plaintiff and members of the putative Class actual harm, including the aggravation and

nuisance of receiving such faxes, the loss of use of their fax machines during the receipt of such

faxes, loss of ink and toner, and increased labor expenses.

       5.      As a result, Plaintiff seeks redress for Defendant’s TCPA violations, including an

injunction requiring Defendant to cease all unauthorized fax-based marketing activities and an

award of actual and statutory damages on a per violation basis for Plaintiff and the Class.

                                            PARTIES

       6.      Plaintiff Lackawanna Chiropractic P.C. is a New York professional corporation

headquartered in Buffalo, New York.

       7.      Defendant Tivity Health Support, LLC. is a Delaware limited liability company

headquartered in Franklin, Tennessee.

                                  JURISDICTION & VENUE

       8.      This Court has federal question subject matter jurisdiction over this TCPA action

pursuant to 28 U.S.C. §1331.

       9.      The Court has personal jurisdiction over Defendant and venue is proper in this

District because Defendant conducts significant amounts of business within this District and

because the wrongful conduct giving rise to this case occurred in, was directed to, and/or
                                                 2
        Case 1:18-cv-00649-LJV-JJM Document 1 Filed 06/07/18 Page 3 of 9




emanated from this District. Venue is additionally proper because Plaintiff resides in this

District.

                            COMMON ALLEGATIONS OF FACT

        10.    Defendant Tivity is a provider of fitness and wellness program networks through

which members obtain services, including acupuncture, chiropracty, and massage at a discounted

rate.

        11.    As part of an overall marketing plan to advertise its programs, services, and

goods, Tivity sends unsolicited faxes to businesses and other consumers to solicit them to be part

of their networks as providers and/or members.

        12.    In this case, Tivity’s unsolicited faxes promoted the commercial availability and

quality of its SilverSneakers, PrimeFitness, WholeHealth Living program networks, which the

fax represents have been “successfully developed and managed” by Tivity “for more than 25

years.” See Fax attached as Exhibit A. The faxes also advertised the commercial availability

and quality of “a new and exciting network similar to the [WholeHealth Living] Network,”

Tivity’s Health and Fitness Program Network for which “targeted members are ages 50+.” See

id.

        13.    Additionally, the faxes solicited businesses to join Tivity’s networks and

compensate Tivity for the marketing services it provides to network providers in three ways.

First, by effectively paying Tivity a $20 “first visit … new patient finder fee.” See Exhibit A.

Second, by offering an ongoing 10%-30% discount to Tivity network members for which Tivity

is compensated by members. See id. And third, by delaying the reimbursement of network

providers, and otherwise retaining the benefit of members’ funds during the delay in issuing

reimbursements. See id. Joining Tivity’s network as solicited in the junk faxes is therefore not



                                                 3
        Case 1:18-cv-00649-LJV-JJM Document 1 Filed 06/07/18 Page 4 of 9




free for businesses.1

        14.     Tivity used a telephone facsimile machine, computer, or other device to send the

fax advertisements at issue. And it sent these fax advertisements to businesses and other

consumers with which it had no existing business relationship, without their express invitation or

permission, in violation of the TCPA.

              FACTS SPECIFIC TO PLAINTIFF LACKAWANNA CHIROPRACTIC P.C

        15.     On March 2, 2018 at 2:36 PM, Tivity transmitted to Plaintiff Lackawanna by

telephone facsimile machine an unsolicited fax solicitation promoting its fitness and wellness

networks. See Fax attached as Exhibit A.

        16.     Plaintiff did not have an existing business relationship with Tivity and never

consented to receive its fax solicitation.

        17.     These faxes caused Plaintiff actual harm including the aggravation and nuisance,

the loss of use of its fax line and fax machine during the receipt of the fax, loss of toner and

paper, and other out of pocket costs associated with receiving the fax.

                                CLASS ACTION ALLEGATIONS

        18.     Class Definition: Plaintiff Lackawanna brings this action pursuant to Federal

Rules of Civil Procedure 23(b)(2) and 23(b)(3) individually and on behalf of a Class of similarly

situated individuals defined as follows:

        All persons and entities who (1) on or after four years prior to the filing of the initial
complaint in this action, (2) were sent a telephone facsimile advertisement, (3) by or on
behalf of Tivity, and (4) from whom Tivity did not have a record of prior express consent
to send the facsimile advertisements, or from whom Tivity claims to have obtained consent
in the same manner it claims to have obtained consent from Plaintiff.


1
  Tivity’s SEC filings also confirm that Tivity is able to charge its health care provider and other
institutional members more for access to its networks by increasing the number of providers
participating in the networks. Tivity 10-Q dated May 4, 2018 at § 3, Revenue Recognition.

                                                    4
           Case 1:18-cv-00649-LJV-JJM Document 1 Filed 06/07/18 Page 5 of 9




       19.      The following individuals are excluded from the Class: (1) any Judge or

Magistrate presiding over this action and members of their families; (2) Defendant, its

subsidiaries, parents, successors, predecessors, and any entity in which Defendant or its parents

have a controlling interest and their current or former employees, officers and directors; (3)

Plaintiff’s attorneys; (4) persons who properly execute and file a timely request for exclusion

from the Class; (5) the legal representatives, successors or assigns of any such excluded persons;

and (6) persons whose claims against Defendant have been fully and finally adjudicated and/or

released. Plaintiff anticipates the need to amend the class definitions following appropriate

discovery.

       20.      Numerosity: The exact size of the Class is unknown and unavailable to Plaintiff

at this time, but it is clear that individual joiner is impracticable. On information and belief,

Defendant faxed unsolicited advertisements to thousands of individuals and entities who fall into

the definition of the Class. Class membership can be easily determined from Defendant’s

records.

       21.      Typicality: Plaintiff’s claims are typical of the claims of the other members of the

Class. Plaintiff is a member of the Class, and if Defendant violated the TCPA with respect to

Plaintiff, then it violated the TCPA with respect to the other members of the Class. Plaintiff and

the Class sustained damages as a result of Defendant’s uniform wrongful conduct.

       22.      Commonality and Predominance: There are many questions of law and fact

common to the claims of Plaintiff and the Class, and those questions predominate over any

questions that may affect individual members of the Class. Common questions for the Class

include, but are not necessarily limited to the following:

                a.     How Defendant gathered, compiled, or obtained the fax numbers of
                       Plaintiff and the Class;

                                                   5
        Case 1:18-cv-00649-LJV-JJM Document 1 Filed 06/07/18 Page 6 of 9




               b.      Whether Defendant’s faxes advertised the commercial availability or
                       quality of property, goods, or services;

               c.      Whether Defendant sent the fax advertisements without first obtaining
                       Plaintiff and the Class’s prior express permission or invitation to do so;
                       and

               d.      Whether Defendant’s conduct was willful such that Plaintiff and the Class
                       are entitled to treble damages.


       23.     Adequate Representation: Plaintiff will fairly and adequately represent and

protect the interests of the Class and has retained counsel competent and experienced in complex

class actions. Plaintiff has no interest antagonistic to those of the Class, and Defendant has no

defenses unique to Plaintiff.

       24.     Policies Generally Applicable to the Class: This class action is appropriate for

certification because Defendant has acted or refused to act on grounds generally applicable to the

Class as a whole, thereby requiring the Court’s imposition of uniform relief to ensure compatible

standards of conduct toward the members of the Class, and making final injunctive relief

appropriate with respect to the Class as a whole. Defendant’s practices challenged herein apply

to and affect the members of the Class uniformly, and Plaintiff’s challenge of those practices

hinges on Defendant’s conduct with respect to the Class as a whole, not on facts or law

applicable only to Plaintiff.

       25.     Superiority: This case is also appropriate for class certification because class

proceedings are superior to all other available methods for the fair and efficient adjudication of

this controversy given that joinder of all parties is impracticable. The damages suffered by the

individual members of the Class will likely be relatively small, especially given the burden and

expense of individual prosecution of the complex litigation necessitated by Defendant’s actions.

Thus, it would be virtually impossible for the individual members of the Class to obtain effective


                                                 6
        Case 1:18-cv-00649-LJV-JJM Document 1 Filed 06/07/18 Page 7 of 9




relief from Defendant’s misconduct. Even if members of the Class could sustain such individual

litigation, it would still not be preferable to a class action, because individual litigation would

increase the delay and expense to all parties due to the complex legal and factual controversies

presented in this case. By contrast, a class action presents far fewer management difficulties and

provides the benefits of single adjudication, economy of scale, and comprehensive supervision

by a single court. Economies of time, effort, and expense will be fostered and uniformity of

decisions ensured.

                                   FIRST CAUSE OF ACTION

                                  Violation of 47 U.S.C. § 227
                              (On Behalf of Plaintiff and the Class)

       26.     The TCPA makes it unlawful for any person to “use any telephone facsimile

machine, computer or other device to send, to a telephone facsimile machine, an unsolicited

advertisement. . . .” 47 U.S.C. § 227(b)(1)(C).

       27.     The TCPA defines “unsolicited advertisement” as “any material advertising the

commercial availability or quality of any property, goods, or services which is transmitted to any

person without that person’s prior express invitation or permission, in writing or otherwise.” 47

U.S.C. § 227(a)(5).

       28.     The faxes sent by Defendant advertised the commercial availability and quality of

its goods and services and were commercial in nature. Therefore, Defendant’s faxes were

advertisements under the TCPA.

       29.     Defendant sent the facsimile advertisements at issue to Plaintiff and members of

the Class without their prior express invitation or consent, and despite the lack of an existing

business relationship between it and members of the Class.

       30.     By sending the unsolicited advertisement faxes at issue to Plaintiff and members


                                                  7
        Case 1:18-cv-00649-LJV-JJM Document 1 Filed 06/07/18 Page 8 of 9




of the Class without their prior express invitation or permission, Defendant violated 47 U.S.C. §

227(b)(1)(C).

       31.      As a result of Defendant’s conduct, Plaintiff and the members of the

Class suffered actual damages, including the conversion or loss of paper and toner consumed in

the printing of the faxes, the loss of use of the recipients’ fax machines during the time required

to receive, review and route the unauthorized faxes, as well as increased labor expenses.

       32.      Plaintiff and the Class are therefore entitled to a minimum of $500, and maximum

of $1,500, in damages for each TCPA violation.

       33.      Additionally, as a result of Defendant’s unlawful conduct, Plaintiff and the other

members of the Class are entitled to an injunction to ensure that Defendant’s violations of the

TCPA do not continue into the future.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Lackawanna, on behalf of itself and the Class, prays for the

following relief:

       e.       An order certifying this case as a class action on behalf of the Class as defined

above; appointing Lackawanna Chiropractic P.C. as the representative of the Class; and

appointing its attorneys as Class Counsel;

       f.       An order declaring that Defendant’s actions, as set out above, violate the TCPA;

       g.       An order enjoining Defendant from further TCPA violations, and otherwise

protecting the interests of the Class;

       h.       An award of statutory damages;

       i.       An award of pre-judgement interest and costs; and

       j.       Such further and other relief the Court deems reasonable and just.



                                                  8
       Case 1:18-cv-00649-LJV-JJM Document 1 Filed 06/07/18 Page 9 of 9




                                            JURY DEMAND

       Plaintiff requests a jury trial.

                                          Respectfully Submitted,


                                          LACKAWANNA CHIROPRACTIC P.C.,
                                          individually and on behalf of all others similarly situated,


Dated: June 7, 2018                       By: /s/Stefan Coleman_____
                                          Stefan Coleman (SC6365)
                                          law@stefancoleman.com
                                          Law Offices of Stefan Coleman, P.A.
                                          5 Penn Plaza, 23rd Floor
                                          New York, NY 10001
                                          Telephone: (877) 333-9427
                                          Facsimile: (888) 498-8946

                                          Avi R. Kaufman*
                                          KAUFMAN P.A.
                                          400 NW 26TH Street
                                          Miami, Florida 33127
                                          Telephone: (305) 469-5881
                                          Email: kaufman@kaufmanpa.com

                                          Attorneys for Plaintiff and the putative Class
                                          *Pro hac vice to be sought




                                                     9
